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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


         -v-
                                                                   No. 11-cr-235 (RJS)
                                                                        ORDER
 ALFONSO VELLON,

                                 Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

        Defendant Alfonso Vellon’s sentencing for his violation of the terms of his supervised

release is currently scheduled for January 15, 2021. (Doc. No. 68.) On January 11, 2021, Vellon

submitted a letter requesting that his sentencing be adjourned for 30 days as he is still in the process

of obtaining records from the New York State Department of Corrections and Community Services

that may contain mitigating information relevant to his sentencing.             (Doc. No. 69.)     The

government consents to that request. (Id.) Accordingly, IT IS HEREBY ORDERED THAT the

sentencing scheduled for January 15, 2021 is adjourned to February 16, 2021 at 11:00 a.m.

Consistent with both Vellon’s previously indicated preference and the standing order issued by

Chief Judge McMahon on January 6, 2021, see First Amended Standing Order, In re

Coronavirus/COVID-19 Pandemic, 20-mc-622 (CM) (S.D.N.Y. Jan. 6, 2021), the sentencing shall

occur remotely using the CourtCall video-conference system. In addition, due to the flexibility

required to accommodate the planning of proceedings involving detained individuals, the Court

will reserve (and the parties shall calendar) February 17, 2021 at 11:00 a.m. as an alternative date

for Vellon’s sentencing. The Court will email the parties directly with instructions for accessing

the CourtCall conference. IT IS FURTHERED ORDERED THAT Vellon shall file his sentencing
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submission by February 8, 2021, and the government shall file its sentencing submission by

February 12, 2021.

         The Clerk of Court is respectfully directed to terminate the motion pending at document

number 69.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York


                                                    RICHARD J. SULLIVAN
                                                    UNITED STATES CIRCUIT JUDGE
                                                    Sitting by Designation




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